Case 2:19-cv-07722-ODW-JEM               Document 96 Filed 04/28/25               Page 1 of 13 Page ID
                                              #:3897

                                                                                           4/28/2025

                           IN THE UNITED STATES DISTRICT COURT                                RYO




                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

 Bureau of Consumer Financial                   ) CIVIL ACTION No.
 Protection                                     ) CV 19-07722-ODW (JEMx)
                   Plaintiff.                   )
                                                )
                                 vs.            )
                                                )
 Certified Forensic Loan Auditors,              )
 LLC, (CA); Certified Forensic Loan             )
 Auditors, LLC (TX); Andrew P.                  )
 Lehman; and Michael Carrigan,                  )


                      Defendants.


   MARK BURKE AND JOANNA BURKE’S MOTION TO INTERVENE AND
  MOTION TO REOPEN CASE AS PLAINTIFFS AND MEMORANDUM OF LAW
                          IN SUPPORT

                                          Motion to Intervene

         Proposed Intervenors, Mark Burke and Joanna Burke (“the Burkes”) contend that

 intervention is justified in this matter as their substantial interests are directly tied to the violations

 of the settlement of this litigation.

         This motion is accompanied by the memorandum in support herein and follows Fed. R.

 Civ. P. 24(c). The Burkes highlight the relevance of the prior CFPB settlement with CFLA and

 Lehman, closed in July 2020, as it pertains to this motion. The Burkes contend that the settlement

 and related litigation significantly impact their interests and form the basis for this intervention.




                                                     1
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25             Page 2 of 13 Page ID
                                            #:3898



                                               Judicial Notice

        The Burkes request judicial notice of the cited cases and references to establish their

 relevance to this matter. This request is made pursuant to the standards outlined in Dorsey v.

 Portfolio Equities Inc., 540 F.3d 333, 338 (5th Cir. 2008), and Lee v. City of Los Angeles, 250 F.3d

 668, 688-89 (9th Cir. 2001).


                                      Motion to Reopen Case

        The Burkes respectfully request this court reopen this case. On June 20, 2020, there was

 an agreed settlement. As part of this settlement, there was a STIPULATED FINAL JUDGMENT

 AND ORDER AS TO CERTIFIED FORENSIC LOAN AUDITORS, LLC (CA), CERTIFIED

 FORENSIC LOAN AUDITORS (TX) AND ANDREW P. LEHMAN, Dkt 93 (July 20, 2020).

        Specifically, Paragraph 10 of the stipulated judgment states: -

        “A judgment for monetary relief is entered in favor of the Bureau and against Defendants

 CFLA and Lehman, jointly and severally, in the amount of $3 million for the purpose of providing

 redress to Affected Consumers.” (emphasis added).


                                          Background Summary

                                                 This Action

        On July 20, 2020, the United States District Court for the Central District of California

 entered a final judgment resolving the Consumer Financial Protection Bureau’s (CFPB) allegations

 against Certified Forensic Loan Auditors, LLC (CFLA) and Andrew Lehman (Lehman). The

 CFPB alleged that CFLA and Lehman engaged in deceptive and abusive practices, including false

 claims about their services and qualifications, and charging illegal upfront fees, in violation of the

 Consumer Financial Protection Act of 2010 (CFPA) and Regulation O. The court permanently
                                             2
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25           Page 3 of 13 Page ID
                                            #:3899



 banned CFLA and Lehman from the industry, imposed a suspended $3 million restitution

 judgment, and levied a $40,000 civil penalty.

          The Burkes qualify as Affected Consumers because Joanna Burke and her late husband,

 John Burke, were former clients of CFLA and victims of its deceptive practices according to

 Lehman, and as admitted in court proceedings. See; Judge Gail Killefer’s Default Judgment

 Opinion signed Dec. 2, 2024 at p.5, #3. 1

          Mark Burke has been directly impacted by Lehman’s unlawful actions, which surfaced

 after the settlement’s publication in July 2020, necessitating this intervention to reopen the case

 and secure restitution for these unresolved harms.


                  Lehman’s Civil and Criminal History Relevant to this Motion

          Andrew Peter Lehman has a lengthy documented history of criminal actions and ongoing

 vexatious civil litigation, underscoring a pattern of misconduct. 2




 1
  23STCV00341 - ANDREW LEHMAN, ET AL. VS MARK BURKE, ET AL, Los Angeles
 Superior Court, Judgment, Dec. 12, 2024.

 2
     See; “Roadmap” Exhibit 222; Latest comment threats on LawsinTexas.com by Lehman, Exhibit
 2222; Defendant & Proposed Intervenor's Response & Plea To The Jurisdiction, 04/03/2025 in
 Harris County District Court Case # 202514896 - LEHMAN, ANDREW P vs. BLOGGER INC
 (Court 215).

                                                   3
Case 2:19-cv-07722-ODW-JEM            Document 96 Filed 04/28/25            Page 4 of 13 Page ID
                                           #:3900



        On January 9, 2023, Lehman initiated a defamation lawsuit in Los Angeles Superior Court

 (23STCV00341) 3 against Mark Burke and the republication of a CFPB article on

 LawsInTexas.com about the underlying case. Despite being domiciled in Texas and under criminal

 court supervision and bond restrictions, Lehman filed as a pauper and was granted In Forma

 Pauperis (“IFP”) status.

        A void default judgment was later entered on December 12, 2024, awarding Lehman and

 co-Plaintiff Monica Lynn Riley, now incarcerated to serve out a five-year jail sentence,

 $1,991,194.12 in damages and injunctive relief. Lehman has since sought to domesticate this

 judgment in Harris County District Court (202514896) 4.


                             The Burkes Connection and Relevance

        Joanna Burke and her late husband, John Burke, have faced prolonged litigation stemming

 from predatory mortgage lending practices. Notably, they prevailed in Deutsche Bank National

 Trust Company v. Burke, S.D. Texas, (4:11-cv-01658) and continue to address related issues, with

 Joanna currently engaged in active litigation against PHH Mortgage Corporation.

        Mark Burke, on the other hand, operates Blogger Inc. and publishes investigative

 journalism through LawsInTexas.com. His connection to the case arises from Lehman’s legal

 actions targeting his publication and the article regarding the CFPB settlement.




 3
  23STCV00341 - ANDREW LEHMAN, ET AL. VS MARK BURKE, ET AL, Los Angeles
 Superior Court, “Case Type: Defamation (slander/libel) (General Jurisdiction), assigned to Judge
 Gail Killefer.
 4
  202514896 – LEHMAN, ANDREW P vs. BLOGGER INC (Court 215, NATHAN J.
 MILLIRON), Harris County District Court, Texas.
                                             4
Case 2:19-cv-07722-ODW-JEM            Document 96 Filed 04/28/25             Page 5 of 13 Page ID
                                           #:3901



        Lehman’s actions, directly affect the Burkes interests and underscore their need to

 intervene in the CFPB settlement case.


                        Memorandum of Law in Support of Intervention

        Mark Burke is the proprietor of Blogger Inc., a nonprofit entity registered in Delaware and

 the legal blog LawsinTexas.com, which is dedicated to investigative journalism, particularly

 focusing on legal matters of public concern. To comprehend the significance, a brief overview is

 necessary. Behind every business stands an owner, entwined with a personal life. In Mark's case,

 his digital media businesses facilitate a home office, doubling as his residence, which has been

 embroiled in prolonged litigation due to a predatory loan, which became the focus of a federal

 lawsuit, Deutsche Bank National Trust Company v. Burke (4:11-cv-01658) District Court, S.D.

 Texas, commenced Apr. 11, 2011. Legally owned by Joanna Burke, Mark's mother, the property

 has hosted Mark's home office since 2009.

         John and Joanna Burke defeated Deutsche Bank twice in the 2011 proceedings, first at a

 bench trial in 2015 and again on remand in late December of 2017. However, Joanna Burke is still

 embroiled in an active civil suit against PHH Mortgage Corporation in Burke v. PHH Mortgage

 Corporation which relates to the 2011 proceedings.

        At all times, the home remains the permanent residence of the Burkes.


                             Intervention Under Civil Rule 24(a)(2)

        Under the Federal Rules of Civil Procedure, Proposed Intervenor must satisfy four essential

 requirements for intervention: timeliness, a necessary interest, impairment of that interest without

 intervention, and the inadequacy of protection absent intervention (Fed. R. Civ. P. 24(a)(2)).


                                                  5
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25            Page 6 of 13 Page ID
                                            #:3902



                                         Necessary Interest

         As explained above, the Proposed Intervenors have asserted their direct interest in the

 subject matter of the litigation, a necessary condition for intervention (Ford v. City of Huntsville,

 242 F.3d 235, 240 (5th Cir. 2001)).

         This interest, related to the subject of the action, is legally protectable even if not

 enforceable, as per Wal–Mart Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, 834 F.3d 562, 566

 (5th Cir. 2016). Joanna Burke’s interests are as an “affected consumer” who has been subjected to

 stalking, as well as vile and harassing behavior by Lehman. He has made derogatory statements

 and has stalked her home while under strict supervision of Texas courts (wearing an ankle

 monitor). He and left repulsive statements on the front of documents left on her front door and

 created a website slandering her name and reputation and that of her deceased husband. These are

 detailed in related proceedings, listed herein, including Case No. 202311266 - KRUCKEMEYER,

 ROBERT J vs. BLOGGER INC D/B/A LAWIN TEXAS.COM (Court 152), Harris County

 District Court, Texas, Addendum L, Img # 108883355, 06/27/2023.

         Mark Burke is intricately tied to Lehman due to his ongoing vexatious litigation targeting

 Mark Burke and his business interests. The imminent threat to his home office (residence) as a

 result of the latest legal maneuver by Lehman directly implicates his business, possessions, civil

 liberty, and constitutional rights.

         As a result, the urgency of the Burke's proposed intervention is evident in the intertwined

 personal, business, and legal battles. It is necessary that the Burkes obtain intervention in these

 proceedings as interested parties and affected consumer(s).




                                                  6
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25             Page 7 of 13 Page ID
                                            #:3903



                                     Timeliness of Intervention

        This motion to intervene is timely, in alignment with the contextual nature of the timeliness

 inquiry (Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994)); California ex rel. Lockyer v.

 United States, 450 F.3d 436, 441 (9th Cir. 2006). This case involves a 5-year period tied to the

 deferred penalties, and the Burkes have filed this motion before that period expires. Their filing

 also follows Lehman’s attempt to domesticate a void judgment of nearly $2 million and his threats

 to foreclose on the Burkes residence, further emphasizing the urgency of their intervention.

        Moreover, recent developments lend further weight to this motion. Following political

 changes after the 2024 election and the CFPB’s deactivation, enforcement efforts were

 significantly delayed or discontinued. Despite these challenges, the Ninth Circuit’s recent ruling

 in Consumer Financial Protection Bureau v. CashCall, Inc., No. 23-55259 (9th Cir. Apr. 24, 2025)

 confirms that judgments from prior CFPB actions remain enforceable, including restitution.


                          Impairment of Interest Without Intervention

        Without intervention, the Burkes substantial interests — including their rights to restitution

 and protection from further harm — would be significantly impaired.

        Joanna Burke, a former client of CFLA and victim of Lehman’s deceptive practices, has a

 direct stake in the restitution outlined in the CFPB settlement.

        Mark Burke faces ongoing litigation and direct challenges to his investigative journalism

 as a result of Lehman’s retaliatory actions, further underscoring the need to safeguard their rights.

 Adequate representation is lacking due to the CFPB's current standing with the present

 administration, necessitating intervention to ensure their interests are preserved.



                                                   7
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25             Page 8 of 13 Page ID
                                            #:3904



        Intervention is crucial to safeguard these interests, as recognized in cases such as Atlantis

 Dev. Corp. v. United States, 379 F.2d 818, 828-29 (5th Cir. 1967). The Fifth Circuit has established

 that intervention is warranted when significant interests may be impaired without direct

 representation. Similarly, the Ninth Circuit in California ex rel. Lockyer v. United States, 450 F.3d

 436, 441 (9th Cir. 2006), emphasized that intervention is appropriate where a party demonstrates

 a substantial interest that risks being impeded or impaired if intervention is denied, particularly

 when existing parties cannot adequately represent that interest.

        The Burkes rights to restitution and protection from Lehman’s actions align with these

 principles, underscoring the necessity of intervention to ensure their interests are preserved.


                          Inadequacy of Protection Absent Intervention

        The Burkes assert that their interests cannot be adequately protected without intervention.

 The CFPB, while instrumental in the original settlement, has demonstrated a lack of action in

 responding to the Burkes requests for assistance.

        Relying on the CFPB's 2020 settlement with CFLA and Lehman, the Burkes sought

 Lehman’s current address to address ongoing harassment and retaliatory actions against them.

 Despite detailing the harm caused by Lehman, including stalking, slander, vexatious litigation, and

 threats to their residence, the CFPB arranged a phone call with Mark Burke, but during this phone

 call declined to act on their behalf or provide a current address for Lehman, which had been

 requested to address these ongoing retaliatory actions.

        This refusal emphasizes the CFPB’s inability to enforce the settlement terms, including

 securing restitution for affected consumers as outlined in the $3 million judgment.



                                                  8
Case 2:19-cv-07722-ODW-JEM              Document 96 Filed 04/28/25            Page 9 of 13 Page ID
                                             #:3905



         Mark Burke seeks intervention to ensure proper restitution and protect his financial

 interests. Lehman’s ongoing legal maneuvers — such as his efforts to domesticate a void $2

 million judgment through litigation — further highlight the urgency of intervention to safeguard

 the Burkes rights.

         These retaliatory actions directly impact the Burkes property, personal safety, financial

 well-being, and constitutional rights, necessitating representation beyond what the CFPB can offer.

         Judicial precedents strongly support intervention under circumstances where existing

 parties fail to adequately protect substantial interests.

         As established in Ford v. City of Huntsville, 242 F.3d 235, 240 (5th Cir. 2001), intervention

 ensures that legally protectable interests are represented effectively.

         Similarly, California ex rel. Lockyer v. United States, 450 F.3d 436, 441 (9th Cir. 2006)

 underscores that intervention is warranted when a party’s interests risk being impaired without

 direct involvement.

         The Burkes unique position as affected consumers and subjects of Lehman’s retaliatory

 actions further demonstrate the inadequacy of protection absent their intervention.


                                              Declaration

       Pursuant to 28 U.S.C. § 1746, a litigant may submit an unsworn declaration in lieu of a sworn

 affidavit as evidence in federal court proceedings, including in opposition to summary judgment.

 See Nissho-Iwai Am. Corp. v. Kline, 845 F.2d 1300, 1305 (5th Cir. 1988) (‘Section 1746 allows a

 written unsworn declaration, subscribed as true under penalty of perjury, to substitute for an

 affidavit.’).

       This principle has also been upheld in the Ninth Circuit. See Schwarzer, Tashima &
                                              9
Case 2:19-cv-07722-ODW-JEM               Document 96 Filed 04/28/25         Page 10 of 13 Page ID
                                               #:3906



  Wagstaffe, Federal Civil Procedure Before Trial, § 14:131 (The Rutter Group 2025) (‘Unsworn

  declarations under penalty of perjury are permissible under 28 U.S.C. § 1746 and carry the same

  evidentiary weight as affidavits.’).

        I, Mark Stephen Burke, my date of birth is June 20, 1967, residing at 46 Kingwood Greens

  Dr, Kingwood, Texas, 77339, declare under penalty of perjury under the laws of the United States

  of America that the information contained herein is true and correct.

        I, Joanna Burke, my date of birth is November 25, 1938, residing at 46 Kingwood Greens

  Dr, Kingwood, Texas, 77339, declare under penalty of perjury under the laws of the United States

  of America that the information contained herein is true and correct.


                                              Conclusion

         For the foregoing reasons, the Burkes respectfully request that this Court grant their (i)

  motion to reopen the case and (ii) motion to intervene.

         The Burkes meet all the legal requirements for intervention as established by relevant

  judicial precedents, including Ford v. City of Huntsville, 242 F.3d 235, 240 (5th Cir. 2001), and

  California ex rel. Lockyer v. United States, 450 F.3d 436, 441 (9th Cir. 2006).

         Their substantial and legally protectable interests—ranging from restitution as affected

  consumers to protections from ongoing retaliatory actions—cannot be adequately represented

  without their direct participation in these proceedings.

         The motions are timely, and the Burkes have demonstrated the inadequacy of existing

  representation, the impairment of their interests without intervention, and the necessity of their

  involvement to ensure justice is served.


                                                   10
Case 2:19-cv-07722-ODW-JEM             Document 96 Filed 04/28/25             Page 11 of 13 Page ID
                                             #:3907



         With these factors firmly established, the Burkes respectfully urge the Court to grant their

  motions, ensuring that justice is achieved and their rights are fully protected as intervenors.



                                          RESPECTFULLY submitted this day, 28th of April, 2025




                                                                                          Mark Burke




                                                                                        JJoanna Burke
                                                                                                B k


                                                                      Harris County, State of Texas
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                                                                            Kingwood, Texas 77339
                                                                     Phone Number: (346) 763-2074
                                                                                Fax: (866) 705-0576
                                                                       Emails: blog@bloggerinc.org;
                                                                           joanna@2dobermans.com



                                CERTIFICATE OF COMPLIANCE

         I hereby certify that the foregoing motion and memorandum comply with the applicable

  requirements of the Federal Rules of Civil Procedure.


                                CERTIFICATE OF CONFERENCE

         I attest to conferring by emailing counsel for all the parties in these proceedings on April

                                                   11
Case 2:19-cv-07722-ODW-JEM           Document 96 Filed 04/28/25       Page 12 of 13 Page ID
                                           #:3908



  28, 2025. At the time of filing, no responses were received from counsel for CFPB or Andrew

  Lehman. The contact and email addresses are shown below:


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  Defendant/CFLA


                                                12
Case 2:19-cv-07722-ODW-JEM            Document 96 Filed 04/28/25             Page 13 of 13 Page ID
                                            #:3909




                                                                                        Mark Burke
                                                                       Harris County, State of Texas



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of April 2025, I uploaded this motion to the court via

  EDSS including the proposed order, and serving via email a copy to counsel for the parties,




                                                                                        Mark Burke
                                                                       Harris County, State of Texas




                                                  13
